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UNITED STATES DISTRICT COURT .
DISTRICT OF COLUMBIA

RADIO FREE ASIA,

Plaintiff,
No. 25-cv-907-RCL
Vv.

UNITED STATES, et al.,

Defendants.

MIDDLE EAST BROADCASTING
NETWORKS, INC.

Plaintiff,
: No. 25-cv-966-RCL
UNITED STATES, et al.,

Defendants.

4PRROLOSED{ ORDER GRANTING RADIO FREE ASIA AND MIDDLE EAST
BROADCASTING NETWORKS, INC.’S OPPOSED MOTION TO ENTER ORDER
GRANTING PRELIMINARY INJUNCTION

This matter came before the Court on Radio Free Asia and the Middle East Broadcasting
Networks, Inc.’s (together, Plaintiffs) Motions for Preliminary Injunction (Case No. 25-cv-907,
ECF No. 12!; Case No. 25-cv-966, ECF No. 11). After consideration of those motions and all
related filings, it is hereby ORDERED that Plaintiffs’ motions are GRANTED for substantially
the same reasons raised in Plaintiffs’ memoranda in support of their motions. Plaintiffs have

established a likelihood of success on the merits and will suffer irreparable harm in the absence

! While RFA’s motion was initially styled as a motion for a temporary restraining order, as
noted in the Court’s April 10, 2025 order, “[tJhe parties have agreed to convert Radio Free Asia’s
Motion for a Temporary Restraining Order into a Motion for a Preliminary Injunction.”

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of an injunction, and the balance of equities and public interest favor immediate relief. The
Court therefore PRELIMINARILY ENJOINS the Defendants, pending further order of this
Court, to restore the FY 2025 grants with USAGM Networks Radio Free Asia and Middle East
Broadcasting Networks, Inc. such that international USAGM outlets can “provide news which is
consistently reliable and authoritative, accurate, objective, and comprehensive,” 22 U.S.C. §
6202(a), (b), and to that end, provide monthly status reports on the first day of each month
apprising the Court of the status of the defendants’ compliance with this Order, including
documentation sufficient to show the disbursement to RFA and MBN of the funds Congress

appropriated.
SO ORDERED:

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Date Zee e py The Honorable Royce C. Lamberth
United States District Judge

